
*178JACOBS, Circuit Judge,
dissenting:
This appeal challenges the reasonableness of an attorney’s fee award, and presents an issue as to timeliness: the appeal is timely if calculated from the entry of final judgment but untimely if calculated from the earlier order to pay the fees. Because I believe AC Roosevelt had until 30 days after entry of final judgment to file notice of appeal, I respectfully dissent from the majority’s dismissal and would affirm the district court’s judgment on the merits.
I
The August 13, 2012 order, which approved the settlement agreement, granted Perez’s motion for attorney’s fees, and directed the clerk to close the case, did not meet the “separate document” requirement of Federal Rule of Civil Procedure 58 and was not labeled a “judgment.” See Fed.R.Civ.P. 58(a). The question is whether a “ ‘self-executing’ order can, without the subsequent entry of a Rule 58 final judgment, and by the passage of time alone, deprive a would-be appellant of its opportunity to seek review. As the Supreme Court made clear, ... it cannot.” In re Litas Int’l, Inc., 316 F.3d 113, 118 (2d Cir.2003). The Rule 58 requirement has not been waived. See Cooper v. Town of East Hampton, 83 F.3d 31, 33-34 (2d Cir.1996).
The separate-document formality sought to relieve the kind of uncertainty (raised in this case) “where the opinion or memorandum has not contained all the elements of a judgment, or where the judge has later signed a formal judgment,” and “it has become a matter of doubt whether the purported entry of a judgment was effective, starting the time running for post-verdict motions and for the purpose of appeal.” Bankers Trust Co. v. Mallis, 435 U.S. 381, 384-85, 98 S.Ct. 1117, 55 L.Ed.2d 357 (1978) (citation omitted). “The reason for adhering to the formalism of the separate document requirement is to avoid confusion as to when the clock starts for the purpose of an appeal.” Cooper, 83 F.3d at 33.
As the majority explains, a grant of attorney’s fees is an exception to the separate-document requirement. See Fed.R.Civ.P. 58(a)(3). But the availability of appeal from a collateral order does not render an appeal untimely if appeal awaits entry of final judgment. “[Sjeveral courts of appeals,” including this one, “have held explicitly ... that failure to take an available collateral order appeal does not forfeit the right to review the order on appeal from a [procedurally proper] final judgment” on the merits. 15A Wright &amp; Miller, Fed. Prac. &amp; Proc. Juris. § 3911 (2d ed.) (citing In re “Agent Orange” Prod. Liab. Litig. MDL No. 381, 818 F.2d 179, 181 (2d Cir.1987) (“Even if the [collateral] order was appealable under Cohen, there is still no reason to bar an appeal from the [later] order, which was clearly intended by the district court to be final.”)).
My view is confirmed by the grouping of the orders specified in Rule 58(a). An award of attorney’s fees is often made after entry of judgment on the merits, and in that respect is like other exceptions to the separate-document rule, which are invariably made afterward. In a case such as this, in which the attorney’s fee award precedes entry of the final judgment, an immediate appeal of the attorney’s fee would raise an issue as to prematurity: how can the fee award be reviewed before the outcome on the merits has been ascertained?
Accordingly, AC Roosevelt had until 30 days after the January 7, 2013 entry of final judgment to file notice of appeal. AC *179Roosevelt filed timely notice on February 6, 2013.
II
Because I consider AC Roosevelt’s appeal timely, I would reach the merits and affirm the district court’s award of attorney’s fees.
The Fair Labor Standards Act (“FLSA”) “directs courts to award prevailing plaintiffs reasonable attorney’s fees and costs.” Barfield v. N.Y. City Health &amp; Hosps. Corp., 537 F.3d 132, 151 (2d Cir.2008); see 29 U.S.C. § 216(b) (“The court in such action shall, in addition to any judgment awarded to ... plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant, and costs of the action.”). New York Labor Law is the same. N.Y. Labor Law § 663(4) (McKinney 2011) (“In any civil action by an employee ..., the employee ... shall have the right to collect attorneys’ fees and costs incurred in enforcing any court judgment.”).
A party prevails in a FLSA suit “if [it] suceeed[s] on any significant issue in litigation which achieves some of the benefit ... sought in bringing suit.” Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983) (citation omitted). “A plaintiff involved in litigation ultimately resolved by settlement may still be entitled to an award of attorneys’ fees” as a prevailing party. Lyte v. Sara Lee Corp., 950 F.2d 101, 103-04 (2d Cir.1991).
The settlement agreement required payments totaling $8,000 to Perez and another former employee, and explicitly contemplated the pending motion for attorney’s fees and costs. Perez was therefore a prevailing party under the statutory framework. See Lyte, 950 F.2d at 104.
“We review attorneys’ fee awards for abuse of discretion. A district court abuses its discretion if it (1) bases its decision on an error of law or uses the wrong legal standard; (2) bases its decision on a clearly erroneous factual finding; or (3) reaches a conclusion that, though not necessarily the product of a legal error or a clearly erroneous factual finding, cannot be located within the range of permissible decisions.” Millea v. Metro-N. R.R. Co., 658 F.3d 154, 166 (2d Cir.2011) (internal quotation marks and citations omitted). “Abuse of discretion — already one of the most deferential standards of review — takes on special significance when reviewing fee decisions because the district court, which is intimately familiar with the nuances of the case, is in a far better position to make such decisions than is an appellate court, which must work from a cold record.” McDaniel v. Cnty. of Schenectady, 595 F.3d 411, 416 (2d Cir.2010) (internal quotation marks, alterations, and citation omitted).
“Both this Court and the Supreme Court have held that the lodestar — the product of a reasonable hourly rate and the reasonable number of hours required by the case — creates a presumptively reasonable fee.” Millea, 658 F.3d at 166-67 (internal quotation marks omitted). AC Roosevelt argues that the “percentage of the fund” method is more appropriate; but here there is no common fund because the class was decertified prior to settlement negotiations.
The district court reviewed the parties’ submissions and contemporaneous lawyer time records; acknowledged the work involved in litigating what was originally a class action, notifying class members, and engaging with a defendant who did not appear in the case for almost a year; and concluded that the request for attorney’s fees was “reasonable in all respects.” This was no abuse of discretion.
Accordingly, I would affirm.
